Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 1 of 9
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                January 11, 2024
                                                               Nathan Ochsner, Clerk
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 2 of 9
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 3 of 9
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 4 of 9
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 5 of 9
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 6 of 9
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 7 of 9
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 8 of 9
Case 4:24-cv-00045 Document 4 Filed on 01/11/24 in TXSD Page 9 of 9
